Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 1 of 10 PageID #: 10574




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                                               October 27, 2021

VIA ECF

The Honorable Stephanos Bibas, sitting by designation
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801

       Re:     CFPB v. NCMSLT et al., 17-cv-01323-SB

Dear Judge Bibas:

        We represent Ambac Assurance Corporation, and write on behalf of Defendants (the
“Trusts”) and Intervenors 1 (collectively, “Movants”) to address the two issues raised in the Court’s
October 13, 2021 Order: (1) whether enforcement actions the CFPB initiated while it was
unconstitutionally structured can move forward where they are ratified by a new director
removable at will by the President, and (2) whether equitable tolling is available where ratification
within the statute of limitations is impossible due to a yet-to-be-identified constitutional defect in
the agency’s structure.

         The answer to each question is no. First, the CFPB’s structural constitutional defect—and
resulting injury suffered by the Trusts and Intervenors—cannot be cured by ratification. Second,
the CFPB cannot use the doctrine of equitable tolling as a means to evade the timing requirements
of ratification, which are mandatory under Supreme Court and Third Circuit precedent.

         Moreover, as explained below, ratification 2 was not impossible here for two reasons.
First, the CFPB’s constitutional defect had in fact been identified as early as 2015; indeed, it was
recognized and corrected by a D.C. Circuit panel in 2016, confirmed by the Executive Branch in
2017, and was then embraced by the CFPB in 2019. Second, ratification was plainly not

1       As used herein, “Intervenors” refers to Ambac Assurance Corporation; Wilmington Trust
Company; and Pennsylvania Higher Education Assistance Agency d/b/a/ American Education
Services. Transworld Systems Inc. takes no position with respect to the arguments set forth
herein.

2       In noting that ratification was available to the CFPB in this action and procured by the
CFPB in other enforcement actions, Movants do not concede that ratification can erase the
constitutional injury inflicted on the defendants in such actions.
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 2 of 10 PageID #: 10575

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 2



impossible here because, as the CFPB has acknowledged, it timely ratified at least four other
enforcement actions of similar vintage—beginning as early as 2018—but simply did not bother to
ratify this one. Those ratifications were executed by the CFPB’s then-Acting Director, Mick
Mulvaney, who was removable without cause by the President by virtue of his “acting” status.
Accordingly, the CFPB cannot meet the prerequisites of equitable tolling, even if that doctrine
otherwise applied (which it does not).

I.     RATIFICATION CANNOT CURE THE CFPB’S SEPARATION-OF-POWERS VIOLATION

        When the CFPB filed its complaint in this action, the structure of the CFPB—which vested
executive power in a single director who could not be removed by the President except for cause—
violated the Constitution’s separation of powers. Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2192
(2020). The CFPB now concedes that it acted unconstitutionally when it initiated enforcement
actions (like this one) during that period. Id. at 2220–21 (Op. of Thomas, J.) (“The CFPB has
conceded that these actions,” i.e., the issuance of a CID and commencement of an enforcement
action in 2017, “were unconstitutional.”). In Seila Law, the Supreme Court severed the
unconstitutional for-cause removal restriction and remanded to the lower courts to decide the
remedy for the “here-and-now” injury of being subjected to an unconstitutionally filed and
maintained enforcement action. Id. at 2196 (Op. of the Court). 3

         Following Seila Law, Judge Noreika dismissed the original complaint in this action without
deciding whether ratification can ever cure a structural constitutional violation, although Movants
had briefed that question. See D.I. 309 at 10–14. Instead, Judge Noreika assumed arguendo that
ratification was theoretically available, and dismissed on the alternative ground that the CFPB
failed to timely ratify this action. See D.I. 359 at 9. 4

3       The CFPB has sometimes argued that, by choosing to remand Seila Law, the Supreme
Court implicitly endorsed the notion that ratification can theoretically cure injuries caused by
structural constitutional defects. That argument finds no support in Seila Law itself, and the
Supreme Court has since unequivocally refuted it. See Collins v. Yellen, 141 S. Ct. 1761, 1788
(2021) (stating that the Seila Law “remand did not resolve any issue concerning ratification”).

4        Other district courts have concluded that ratification is a sufficient remedy for the
constitutional violation committed by the CFPB in enforcement actions like this one. See, e.g.,
BCFP v. Citizens Bank, N.A., 504 F. Supp. 3d 39, 52 (D.R.I. 2020). Such decisions largely flowed
from flawed premises, and Movants submit that they are incorrect. Compare id. (permitting
ratification after erroneously concluding that “the CFPB was never divested of its power to act as
a principal”), with infra I.B.2. Even those incorrect rulings recognize, however, that the Director
could only ratify claims which had not yet expired. See Citizens Bank, N.A., 504 F. Supp. 3d at
50; BFCP v. Fair Collections & Outsourcing, Inc., No. 19 Civ. 2817, 2020 WL 7043847, at *5
(D. Md. Nov. 30, 2020) (“In order for a ratification to be valid, the principal, here, the CFPB, must
have had the ability to do the act both at the time it was done and at the time of ratification.”).
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 3 of 10 PageID #: 10576

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 3



         Nevertheless, the threshold remedy question provides an independent basis for dismissal,
because the CFPB’s attempt to ratify its own unconstitutional conduct cannot redress the Trusts’
injury. First, separation-of-powers violations are structural defects that courts have repeatedly
found to require automatic reversal. The appropriate remedy in this case, as in other cases
involving structural defects, is to set aside the act—here, the initiation of this lawsuit—taken by
the unconstitutionally structured government agency. Second, the CFPB cannot invoke
ratification because the fundamental premise of that doctrine is that a principal under certain
circumstances may authorize the unsanctioned acts of an agent. The doctrine has no application
where, as here, the CFPB seeks to have a purported agent—a director removable at will by the
President—retroactively authorize the acts of the principal—in this case, the unconstitutionally
structured CFPB. Finally, even if ratification could cure structural constitutional violations and
had any application here, the CFPB’s ratification attempt fails because it lacked executive
authority when it filed its complaint against the Trusts in 2017.

  A.      Ratification Cannot Remedy a Structural Constitutional Violation

       It is not surprising that the Supreme Court has never held that a structural constitutional
injury can be cured through ratification: ratification is not a remedy for a violation of the
Constitution’s separation of powers.

        In the context of agency actions, “issues of separation of powers” are “structural errors.”
SW Gen., Inc. v. NLRB, 796 F.3d 67, 79 (D.C. Cir. 2015), aff’d, 137 S. Ct. 929 (2017). As many
courts have held, when “structural errors” result in constitutional injury to a defendant, they require
“automatic reversal” without any requirement of a showing of prejudice to the defendant. Id.
(“Issues of separation of powers are structural errors that do not require a showing of prejudice”
for reversal of the agency action to be appropriate); see also Neder v. United States, 527 U.S. 1, 7
(1999) (structural constitutional injuries are “so intrinsically harmful as to require automatic
reversal”); Freytag v. Comm’r, 501 U.S. 868, 868–69 (1991) (separation-of-powers violations are
“structural” constitutional errors); Cirko v. Comm’r of Social Sec., 948 F.3d 148, 154 (3d Cir.
2020) (harm from separation-of-powers violation is “presumed”); Landry v. FDIC, 204 F.3d 1125,
1131 (D.C. Cir. 2000) (“Issues of separation of powers . . . seem most fit to the doctrine” that
“structural” errors are “subject to automatic reversal.”). Thus, as the Supreme Court explained in
Seila Law, “a litigant challenging governmental action as void on the basis of the separation of
powers is not required to prove that the Government’s course of conduct would have been different
in a ‘counterfactual world’ in which the Government had acted with constitutional authority”—
and when the separation-of-powers violation involves “the President’s removal power,” a litigant
per se “‘sustain[s] injury’ from an executive act that allegedly exceeds the official’s authority.”
140 S. Ct. at 2196 (citations omitted).

That principle is fatal to the CFPB in this case, as explained in Movants’ briefing, see D.I. 367 at
7, and recognized by Judge Noreika in her ruling dismissing the original complaint, see D.I. 359
at 9–11.
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 4 of 10 PageID #: 10577

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 4




        Here, the CFPB has conceded that the enforcement actions it filed while it was
unconstitutionally structured “injured Defendants by subjecting them to the authority of an official
unconstitutionally insulated from Presidential Control.” Suppl. En Banc Br. of CFPB, CFPB v.
All American Check Cashing, Inc., No. 18-60302, 2020 WL 5231790, at *3 (5th Cir. Aug. 31,
2020) (CFPB suppl. br.) (emphasis added).              Although ratification may under certain
circumstances have the effect of authorizing an action, it cannot cure a past constitutional injury.
Seila Law, 140 S. Ct. at 2221 (Thomas, J.) (“[T]he alleged ratification does not cure the
constitutional injury—enforcement of an investigative demand by an unconstitutionally insulated
Director. . . . Thus, even if the CFPB’s ratification theory is valid, Seila still has an injury”);
Ringling v. City of Hempstead, 193 F. 596, 601 (5th Cir. 1911) (“An unconstitutional law is null
and void, and proceedings had under it afford no basis for subsequent ratification or retroactive
validation.”); Franklin v. Navient, Inc., No. 17 Civ. 1640, 2021 WL 1535575, at *2 (D. Del. Apr.
19, 2021) (“When a court finds a law unconstitutional, it finds that it is ‘void, and is as no law’
from the day it is passed.” (quoting Ex parte Siebold, 100 U.S. 371, 376 (1879)). 5

        Thus, the appropriate remedy in this case is to set aside the act taken by the unconstitutional
government actor by dismissing this action. See Ryder v. United States, 515 U.S. 177, 184 n.3
(1995) (the correct remedy is that which “afforded respondent the relief requested pursuant to its
constitutional challenge”); see also Lucia v. SEC, 138 S. Ct. 2044, 2055 (2018) (setting aside
decision of unconstitutionally appointed administrative law judge); Stern v. Marshall, 564 U.S.
462, 469 (2011) (invalidating bankruptcy court order issued in violation of Article III of the
Constitution); Noel Canning v. NLRB, 705 F.3d 490, 514 (D.C. Cir. 2013), aff’d, 573 U.S. 513
(2014) (voiding National Labor Relations Board order due to invalid recess appointments and
separation-of-powers violation). Dismissal is the only outcome consistent with the Supreme
Court’s admonition that a successful, “timely challenge to the constitutional validity of” a
government official’s authority requires meaningful relief. See. e.g., Ryder, 515 U.S. at 182–83;
accord Lucia, 138 S. Ct. at 2055 n.5 (meaningful remedies must be available for constitutional

5       Contrary to the CFPB’s prior arguments (D.I. 371), the Supreme Court’s recent decision
in Collins v. Yellen, 141 S. Ct. 1761 (2021), does not erase the constitutional injury or foreclose
meaningful relief here. Although the Court noted that actions taken by FHFA directors who were
unconstitutionally insulated from removal were not necessarily void ab initio, that does not
foreclose “entitlement to retrospective relief.” Id. at 1788; see also id. at 1789 (“it is still possible
for an unconstitutional provision to inflict . . . harm”); see also D.I. 371 at 2 n.1 (CFPB conceding
that “Collins left open the possibility that the challengers in that case might obtain some other form
of relief”). Moreover, unlike the Collins plaintiffs who sought to recover money, the Trusts are
defendants in an enforcement action. The Collins Court’s remedies analysis depended in part on
“the prospect that affording a more traditional remedy…could mean unwinding or disgorging
hundreds of millions of dollars that have already changed hands.” 141 S. Ct. at 1799 (Gorsuch,
J., concurring in part). But nothing in Collins “undoes [the Supreme Court’s] prior guidance
authorizing more meaningful relief in other situations,” such as this case. Id.
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 5 of 10 PageID #: 10578

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 5



challenges to “create incentives to raise” them) (cleaned up). As courts have consistently
explained, when a litigant raises a “constitutional challenge as a defense to an enforcement action,”
the court may not “declare the [agency]’s structure unconstitutional without providing relief” to
the challenger. E.g., FEC v. NRA Political Victory Fund, 6 F.3d 821, 828 (D.C. Cir. 1993).

         The CFPB has conceded that relief is necessary, but nevertheless insists that ratification—
i.e., former-Director Kraninger’s rubber stamp of approval—is all the “relief” the Trusts should
get. See D.I. 320 at 7 n.5. Of course, that is no relief at all. Allowing ratification to simply
wipe the slate clean would leave the Trusts and Intervenors entirely without relief for the
unconstitutional actions taken by an unaccountable federal agency. Instead, this action must be
dismissed. See Ryder, 515 U.S. at 184 n.3.

  B.      Ratification Cannot Rectify Unconstitutional Agency Action

               1.      An Agent Cannot Ratify the Unconstitutional Act of a Principal

         Even if ratification could cure a structural constitutional violation—and it cannot—the
doctrine has no application to the CFPB’s enforcement action here. The ratification doctrine
concerns the effect of a principal’s subsequent approval of an agent’s action that the agent had
lacked authority to undertake. See Wilkes-Barre Hosp. Co. v. NLRB, 857 F.3d 364, 371 (D.C.
Cir. 2017) (“Ratification occurs when a principal sanctions the prior actions of its purported
agent.”) (cleaned up); Restatement (Second) of Agency § 82 (1958) (ratification gives effect to
unauthorized act of an agent); Restatement (Third) of Agency § 4.01(1) (2006) (defining
ratification as the “affirmance of a prior act done by another, whereby the act is given effect as if
done by an agent acting with actual authority”).

        In this case, the CFPB seeks to turn the ratification doctrine on its head through its theory
that an agent (its director) may ratify the acts of the principal (the CFPB). The constitutional
violation here, however, was the principal—the CFPB itself—acting without Executive oversight
when it opened an investigation and later filed this enforcement action. See Seila Law, 140 S. Ct.
at 2204 (“The CFPB Director’s insulation from removal by an accountable President is enough to
render the agency’s structure unconstitutional.”) (emphasis added); accord 12 U.S.C. § 5564(a)
(“The Bureau,” not its director, may “commence a civil action”). Because the CFPB “‘is not an
agent and does not purport to be one,’ the doctrine of ratification does not apply.” Kristensen v.
Credit Payment Servs. Inc., 879 F.3d 1010, 1014 (9th Cir. 2018) (quoting Restatement (Third) of
Agency § 4.03 cmt. b) (alteration omitted); Perry v. Scruggs, 17 F. App’x 81, 91 n.1 (4th Cir.
2001) (finding the “doctrine of ratification does not apply” in situation which did not involve a
purported agent acting without authority).
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 6 of 10 PageID #: 10579

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 6



               2.      The Principal Lacked Authority in 2017 to Initiate this Action

         Additionally, even if the Court were to find the ratification doctrine potentially applicable,
Director Kraninger’s ratification attempt in July 2020 still fails the first prong of the two-prong
test for effective ratification, which requires that the principal must be able “to do the act ratified
at the time the act was done,” and not only “at the time the ratification was made.” FEC v. NRA
Political Victory Fund, 513 U.S. 88, 98 (1994); see also Norton v. Shelby Cnty., 118 U.S. 425, 451
(1886) (Since “[t]o ratify is to give validity to the act of another, [it] implies that the person or
body ratifying has at the time power to do the act ratified”) (emphasis added).

         The CFPB fails the first prong of the ratification test because it lacked authority to wield
executive power when it commenced its enforcement action against the Trusts in 2017. 6 At that
time, because the CFPB’s director (Director Cordray) was unconstitutionally insulated from
removal, the CFPB impermissibly operated without oversight by the President—especially
important here, because Director Cordray was a holdover from the prior administration. The
Supreme Court made clear that absent severance of the unconstitutional removal restriction, there
would be “no agency . . . with statutory authority to maintain” the enforcement action against Seila
Law. 140 S. Ct. at 2208; see also CFPB v. Seila Law LLC, 997 F.3d 837, 842 (9th Cir. 2021)
(Bumatay, J.) (“[T]he President’s ability to oversee the CFPB Director was so fundamental, and
the defect so severe, that if the removal protection were not severable, it may mean that ‘the entire
agency is unconstitutional and powerless to act.’”). Because the CFPB was not accountable to
the President when it filed this case in 2017, the CFPB did not have “the authority to bring the
action” on behalf of the Executive Branch. Id. at 844; see also Bowsher v. Synar, 478 U.S. 714,
732 (1986) (officers not controlled by the President are not “entrusted with executive powers”).
In other words, the CFPB did not have the authority to commence its enforcement action in 2017—
i.e., “to do the act ratified at the time the act was done.” NRA Political Victory Fund, 513 U.S. at
98. The action therefore cannot be ratified.

II.    EQUITABLE TOLLING IS UNAVAILABLE

        Even if the Court were to conclude that ratification could somehow cure the injury to the
Trusts and Intervenors caused by the CFPB’s separation-of-powers violation, the CFPB’s amended
complaint must still be dismissed because the CFPB failed to timely ratify the action. Director
Kraninger’s ratification came too late, and equitable tolling cannot rescue this action from
dismissal.


6       Nor did the CFPB satisfy the second prong of the ratification test—i.e., it could not have
brought this suit in July 2020, “at the time the ratification was made.” See supra n.4. The CFPB
conceded this point, as Judge Noreika noted when dismissing the original complaint. See D.I.
359 at 10 (“The Bureau does not dispute that ‘Director Kraninger’s ratification . . . came more than
three years after the date of discovery of these violations.’”).
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 7 of 10 PageID #: 10580

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 7



        As an initial matter, earlier ratification was eminently possible if the CFPB had simply
exercised the same level of diligence in this case as it exercised in at least four others similarly
situated. The CFPB does not dispute that it obtained ratifications from former Acting Director
Mulvaney—who like Director Kraninger, was removable at will—in several enforcement actions
beginning as early as 2018, but failed to do so here. And even assuming arguendo that it was
“impossible” for the CFPB to timely ratify this case due to its unconstitutional structure, equitable
tolling cannot rescue this action. As explained herein, the doctrine of equitable tolling cannot
simply be bootstrapped onto the doctrine of ratification to excuse a structural constitutional
violation. And even if it could in theory, equitable tolling is not available to the CFPB on the
facts of this case.

       A.      Timely Ratification Was Not Impossible Here

        By the time that it filed this action in September 2017, the defect in the CFPB’s structure
had been identified in numerous proceedings throughout the country in which defendants
challenged the CFPB’s constitutionality and enforcement authority. D.I. 359 at 11; see, e.g.,
Opening Br. of Pet’rs, PHH Corp. v. CFPB, No. 15-1177, 2015 WL 5695665, at *21 (D.C. Cir.
Sept. 28, 2015) (petitioners asserting that the CFPB’s structure violates the Constitution’s
separation of powers). And in March 2017—six months before the CFPB filed this case against
the Trusts—the United States publicly agreed, asserting that the for-cause removal provision “is
an unwarranted limitation on the President’s executive power.” PHH Corp., 2017 WL 1035617,
at *19 (amicus br. of the United States); see also id. at *16 (noting that “the CFPB’s interference
with executive power is exacerbated by both its single-headed nature and its wide-ranging policy
making and enforcement authority over private conduct”).

         In light of these developments, in 2018 the CFPB began procuring ratifications of at least
four other enforcement actions from then-Acting Director Mulvaney—who, due to his “acting”
status, was subject to removal without cause prior to Seila Law. D.I. 359 at 11–12 n.7; D.I. 348
at 1 n.1 (collecting CFPB’s ratifications from Acting Director Mulvaney in other contemporaneous
enforcement actions); see also Collins, 141 S. Ct. at 1783 (unconstitutional removal restriction
does not extend to an “acting” director). Yet it is undisputed that the CFPB never bothered to
obtain a ratification from Acting Director Mulvaney in this action. D.I. 348-1 at 40:7–10; 37:20–
23; 38:21–23. It was certainly not “impossible” for the CFPB to take the exact protective measure
in this case that it took in various others, as Judge Noreika recognized when she dismissed the
CFPB’s original complaint. See D.I. 359 at 11–13.

        Nor can the CFPB seek tolling on the theory that its structural constitutional defect was not
addressed until the Supreme Court’s Seila Law decision in 2020. As an initial matter, “because
Supreme Court decisions clarify what the law has always meant, their rulings apply to all open
cases, even those whose facts predate the ruling.” Franklin, 2021 WL 1535575, at *2 (cleaned
up). Therefore, the CFPB’s failure to protect its rights cannot be excused by the timing of Seila
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 8 of 10 PageID #: 10581

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 8



Law. See id. at *3 (“So if a court first rules that a statute allows an action, but later changes its
mind, someone who acted in the meantime is liable.”).

         Moreover, four years earlier, a D.C. Circuit panel identified and addressed the same defect,
holding that the CFPB’s structure violated the Constitution’s separation of powers, and severing
the CFPA’s unconstitutional for-cause removal provision. This made the CFPB “an executive
agency” and gave the President “the power to . . . remove the Director at will at any time.” PHH
Corp. v. CFPB, 839 F.3d 1, 39 (D.C. Cir. 2016). This is the precise ruling that the CFPB would
later request, and receive, from the Supreme Court in Seila Law three years later. See Br. of
Resp’t, Seila Law LLC v. CFPB, No. 19-7, 2019 WL 4528136, at *16 (U.S. Sept. 17, 2019) (CFPB
arguing that its structure is unconstitutional and the “proper remedy for the constitutional violation
is to sever the provision limiting the President’s authority to remove the Bureau’s Director”). Had
the CFPB simply embraced the D.C. Circuit’s ruling in 2016 (as it later did in 2019), the defect in
its structure would have been cured before it filed this lawsuit, thus avoiding the constitutional
injury inflicted upon the Trusts here. But instead, the CFPB petitioned for rehearing en banc in
PHH, succeeded in getting the panel’s decision vacated, and continued to insist that there was no
constitutional problem—only to later reverse course entirely. See Br. of Resp’t on Rehearing En
Banc, PHH Corp. v. CFPB, No. 15-1177, 2017 WL 1196119, at *1–2 (D.C. Cir. Mar. 31, 2017)
(CFPB insisting in en banc briefing that “Congress did not violate Article II by creating an
independent agency led by a single Director removable only for cause”); PHH Corp. v. CFPB, 881
F.3d 75 (D.C. Cir. 2018) (vacating panel decision and adopting CFPB’s erroneous separation-of-
powers position) (en banc).

        Given this history, it cannot be said that it was “impossible” for the CFPB to proceed
constitutionally with this action in 2017. And the CFPB cannot now seek to benefit from the
delay it created in remediating its own unconstitutional structure. 7

       B.      Equitable Tolling Cannot Erase the Timing Requirements of Ratification

        Regardless of whether ratification was theoretically “impossible” within the statute of
limitations here, the CFPB cannot combine the two doctrines of ratification and equitable tolling
to extend indefinitely the limitations period.

         As an initial matter, there is “no supporting precedent” for the proposition that equitable
tolling is “available in the first instance” to an agency to cure a constitutional defect and permit
ratification of an untimely enforcement action. CFPB v. Navient Corp., 522 F. Supp. 3d 107, 116
(M.D. Pa. 2021). This is for good reason: as the Supreme Court has warned, “equity never lends

7       These same facts doom any attempt by the CFPB to claim that the circumstances causing
its delay were “both extraordinary and beyond its control,” as the doctrine of equitable tolling
requires. Menominee Indian Tribe of Wisconsin v. United States, 136 S. Ct. 750, 757 (2016)
(emphasis in original); see D.I. 370 at 4–5.
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 9 of 10 PageID #: 10582

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 9



its aid to enforce a forfeiture or penalty.” Liu v. SEC, 140 S. Ct. 1936, 1941 (2020) (internal
quotation and citation omitted); see also United States v. Kubrick, 444 U.S. 111, 117 (1979) (the
“right to be free of stale claims in time comes to prevail over the right to prosecute them”).
Equitable tolling is a particularly poor fit here, where an agency seeks to invoke the doctrine
against parties that have already been injured by the agency’s constitutional violation. See John
Doe Co. v. Cordray, 849 F.3d 1129, 1137 (D.C. Cir. 2017) (Kavanaugh, J., dissenting) (“the
equities favor the people whose liberties are being infringed, not the unconstitutionally structured
agency,” i.e., the CFPB).

         Grafting equitable tolling onto ratification would also have the perverse effect of
eliminating the ratification doctrine’s timeliness requirement—that the commencement of an
action cannot be ratified after the right to bring it “has been terminated by lapse of time.” E.g.,
NRA Political Victory Fund, 513 U.S. at 98. This requirement is no technicality: it acts as a
bulwark, ensuring that the “intervening rights of third persons cannot be defeated by the
ratification.” Id. Indeed, as Judge Noreika recognized in dismissing the CFPB’s original
complaint, “If a principal were allowed to ratify unauthorized agency actions after the statute of
limitations had expired, ‘he would have the unilateral power to extend the . . . statutory period for
filing [complaints] by days, weeks, or, as in this case, even longer.’” D.I. 359 at 10–11 (quoting
NRA Political Victory Fund, 513 U.S. at 99). Such an unlimited extension of the limitations
period “would be utterly repugnant to the genius of our laws.” Gabelli v. SEC, 568 U.S. 442, 452
(2013).

       C.      The CFPB Is Not Entitled to Equitable Tolling Here

        All else aside, even if equitable tolling were theoretically available, the CFPB cannot meet
the stringent standard for its application to the facts of this case. Equitable tolling of a statute of
limitations is to be used “only sparingly,” United States v. Atiyeh, 402 F.3d 354, 367 (3d Cir.
2005), and only if two elements are met: (1) a party “has been pursuing his rights diligently,” and
(2) “some extraordinary circumstance stood in his way and prevented timely filing.” Menominee
Indian Tribe, 136 S. Ct. at 755 (quoting Holland v. Florida, 560 U.S. 631, 649 (2010)). Here, as
discussed at length in Judge Noreika’s decision dismissing the original complaint, and then in
Movants’ briefing on their motion to dismiss the amended complaint, the CFPB cannot satisfy
either prong. See D.I. 359 at 11–13; D.I. 367 at 8–10; D.I. 370 at 3–5. And even if it could,
Movants have also explained why the CFPB cannot demonstrate an absence of prejudice, and
therefore should not be granted equitable tolling. See D.I. 367 at 10–11; Baldwin Cnty. Welcome
Ctr. v. Brown, 466 U.S. 147, 152 (1984) (If the first two prongs are satisfied, then the “absence of
prejudice is a factor to be considered in determining whether the doctrine of equitable tolling
should apply.”).

        Finally, the CFPB’s inequitable conduct throughout this proceeding bars its present attempt
to avail itself of equitable tolling. See Bishop v. Bishop, 257 F.2d 495, 500 (3d Cir. 1958) (“the
doors of a court of equity” are closed “to one tainted with inequitableness or bad faith relative to
Case 1:17-cv-01323-SB Document 378 Filed 10/27/21 Page 10 of 10 PageID #: 10583

        The Honorable Stephanos Bibas
        October 27, 2021
        Page 10



the matter in which he seeks relief”). The CFPB brought this action only after spending months
collaborating with a hedge fund to foist an unauthorized $20 million “consent” judgment upon the
defendant Trusts. See D.I. 226 at 16–19. The CFPB had reason to know that this proposed
“consent” judgment (“PCJ”) had never been properly authorized by parties with authority to
provide the Trusts’ consent. D.I. 367 at 9–10. The CFPB was also on notice that its PCJ violated
the Trusts’ governing agreements, and consequently, the rights of numerous third parties. See
D.I. 226 at 22–23. Further, the CFPB knew that its proposed order had been concealed from
Intervenor Ambac—whose consent, the CFPB also knew, was a contractual requirement that had
never been fulfilled. See D.I. 272 at 11–12. And the CFPB knew that the Owner Trustee, the
party with the contractual authority to execute the consent order on the Trusts’ behalf, had refused
to do so. D.I. 226 at 23 n.26; D.I. 228 Ex. 4 at -0001467. None of this gave the CFPB pause.
It continued to pursue the PCJ for years, until Judge Noreika finally threw out the PCJ on May 31,
2020. D.I. 272. In view of this history, the CFPB cannot now rely on equity to salvage this
action. See Bishop, 257 F.2d at 500 (party seeking equitable relief has the burden of showing that
“there has been honesty and fair dealing” on its part).

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        For the foregoing reasons and those set forth in Movants’ prior submissions, we
respectfully request that the Court dismiss the CFPB’s amended complaint with prejudice. We
thank the Court for its attention to this matter, and are available to answer any questions the Court
may have.

                                              Respectfully submitted,

                                              /s/ Melissa N. Donimirski

                                              Melissa N. Donimirski (#4701)

MND/daa
